                                         NO. 12-24-00178-CV

                               IN THE COURT OF APPEALS

                 TWELFTH COURT OF APPEALS DISTRICT

                                            TYLER, TEXAS

IN THE INTEREST OF                                         §       APPEAL FROM THE

S. W., JR., III, A CHILD                                   §       COUNTY COURT AT LAW NO. 1

                                                           §       HENDERSON COUNTY, TEXAS

                                         MEMORANDUM OPINION

         S.W.II appeals the termination of his parental rights.                   His counsel filed a brief in
compliance with Anders v. California, 386 U.S. 738, 87 S. Ct. 1396, 18 L. Ed. 2d 493 (1967)
and Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969). We affirm.


                                                  BACKGROUND
         S.W.II is the father and C.H. is the mother of S.W.III. 1 On July 27, 2018, the Department
of Family and Protective Services (the Department) filed an original petition for protection of
S.W.III, for conservatorship, and for termination of S.W.II’s and C.H.’s parental rights. The trial
court named the Department as temporary managing conservator and created family service
plans. On August 23, 2019, the Department was named permanent managing conservator, and
the parents were named possessory conservators in a final order. A new family service plan was
created on September 28, 2020. The Department then filed a petition to modify and requested
the parents’ rights be terminated.


         1
          The child is referenced throughout the record as either S.W., Jr., S.W.III, or S.W. Jr, III. For consistency,
we reference the child as S.W.III in this opinion. C.H. is not a party to this appeal.
       At the bench trial, which S.W.II failed to attend, the evidence showed that S.W.II tested
positive for methamphetamine at the original removal.           S.W.II completed the requested
psychological assessment in November 2018, which resulted in recommendations for individual
counseling, group counseling, and parenting classes. He attended individual counseling but was
ultimately unsuccessfully discharged. He also attended one session with a drug counselor who
recommended in-patient rehabilitation. S.W.II was inconsistent in complying with requested
drug testing and failed to appear for testing since February 2022. The last hair follicle test he
took in 2021 was positive. In July 2023, S.W.II’s visitation was suspended for failing to visit
S.W.III. The evidence further showed that S.W.II failed to provide financial assistance to S.W.III
aside from buying groceries on a monitored return.
       At the conclusion of trial, the trial court found, by clear and convincing evidence, that
S.W.II engaged in one or more of the acts or omissions necessary to support termination of his
parental rights under subsections (N), (O), and (P) of Texas Family Code Section 161.001(b).
The trial court also found that termination of the parent-child relationship between S.W.II and
S.W.III is in the child’s best interest. Based on these findings, the trial court ordered that the
parent-child relationship between S.W.II and S.W.III be terminated. This appeal followed.


                        ANALYSIS PURSUANT TO ANDERS V. CALIFORNIA
       S.W.II’s counsel filed a brief in compliance with Anders, stating that he diligently
reviewed the appellate record and is of the opinion that the record reflects no reversible error and
that there is no error upon which an appeal can be predicated. This Court previously held that
Anders procedures apply in parental rights termination cases when the Department has moved
for termination. See In re K.S.M., 61 S.W.3d 632, 634 (Tex. App.—Tyler 2001, no pet.). In
compliance with Anders, counsel’s brief presents a professional evaluation of the record
demonstrating why there are no reversible grounds on appeal and referencing any grounds that
might arguably support the appeal. See Anders, 386 U.S. at 744, 87 S. Ct. at 1400; Mays v.
State, 904 S.W.2d 920, 922-23 (Tex. App.—Fort Worth 1995, no pet.).
       As a reviewing court, we must conduct an independent evaluation of the record to
determine whether counsel is correct in concluding that the appeal is frivolous. See Stafford v.
State, 813 S.W.2d 503, 511 (Tex. Crim. App. 1991); Mays, 904 S.W.2d at 923. We carefully
reviewed the appellate record and counsel’s brief. We find nothing in the record that might



                                                 2
arguably support the appeal. 2 See Taylor v. Tex. Dep’t of Protective &amp; Regulatory Servs., 160
S.W.3d 641, 646-47 (Tex. App.—Austin 2005, pet. denied).


                                                   DISPOSITION
         We agree with S.W.II’s counsel that the appeal is wholly frivolous. 3 Accordingly, we
affirm the trial court’s judgment. See TEX. R. APP. P. 43.2.



                                                                             GREG NEELEY
                                                                                Justice

Opinion delivered August 7, 2024.
Panel consisted of Worthen, C.J., Hoyle, J., and Neeley, J.




          2
            Counsel for S.W.II certified that he provided S.W.II with a copy of the brief and informed him that he had
the right to file his own brief and took concrete measures to facilitate his review of the record. See Kelly v. State,
436 S.W.3d 313, 319 (Tex. Crim. App. 2014); In the Matter of C.F., No. 03-18-00008-CV, 2018 WL 2750007, at *1
(Tex. App.—Austin June 8, 2018, no pet.) (mem. op.). S.W.II was given the time to file his own brief, but the time
for filing such a brief expired, and we have not received a pro se brief.
         3
           After filing an Anders brief, S.W.II’s attorney filed a motion to withdraw. However, counsel’s obligations
to S.W.II have not yet been discharged. See In re P.M., 520 S.W.3d 24, 27 (Tex. 2016) (holding that the right to
counsel in suits seeking termination of parental rights extends “to all proceedings in [the Texas Supreme Court],
including the filing of a petition for review.”). Thus, we deny counsel’s motion to withdraw. If S.W.II, after
consulting with counsel, desires to file a petition for review, counsel should timely file with the Texas Supreme
Court “a petition for review that satisfies the standards for an Anders brief.” Id. at 27-28; see A.C. v. Tex. Dep’t of
Family &amp; Protective Servs., No. 03-16-00543-CV, 2016 WL 5874880, at *1 n.2 (Tex. App.—Austin Oct. 5, 2016,
no pet.) (mem. op.).


                                                          3
                                   COURT OF APPEALS

      TWELFTH COURT OF APPEALS DISTRICT OF TEXAS

                                           JUDGMENT

                                            AUGUST 7, 2024


                                         NO. 12-24-00178-CV


                       IN THE INTEREST OF S. W., JR., III, A CHILD
                            Appeal from the County Court at Law No. 1
                   of Henderson County, Texas (Tr.Ct.No. FAM18-0590-CC1)

                       THIS CAUSE came to be heard on the appellate record and briefs filed
herein, and the same being considered, it is the opinion of this court that there was no error in the
judgment.
                       It is therefore ORDERED, ADJUDGED, and DECREED that the
judgment of the court below be in all things affirmed, and that this decision be certified to the
court below for observance.

                    Greg Neeley, Justice.
                    Panel consisted of Worthen, C.J., Hoyle, J., and Neeley, J.
